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TEG EXHIBIT
B
Case 1:24-cv-00779-JPH-MG Document 50-2 Filed 07/05/24 Page 2 of 3 PagelD #: 378

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION

MAX MINDS, LLC, )
)

Plaintiff, )

)

Vv. ) Civil Action No.: 1:24-cv-00779- JPH-MG

)

TRIANGLE EXPERIENCE GROUP, INC., _)
ROBERT CLARE, JEFFREY MASE, )
KEVIN MULLICAN, and JOHN DOES 1-10, )
)

Defendants. )

DECLARATION OF JEFFREY MASE

I, Jeffrey Mase, do hereby declare pursuant to 28 U.S.C. § 1746 as follows:

L.

I am over the age of eighteen (18) and am competent to testify to the matters set

forth in this declaration. Unless otherwise stated herein, the statements contained in this declaration

are from my own personal knowledge. I submit this declaration in support of Defendants Robert

Clare, Jeffrey Mase, Kevin Mullican, and John Does 1-10’s Motion to Dismiss Plaintiff's, Max

Minds, LLC (“Max”), Complaint for Lack of Personal Jurisdiction.

2.

3.

4,

5.

I am the Chief Operating Officer of Triangle Experience Group, Inc. (“TEG”).
I am domiciled in the state of New Jersey.

I do not live in Indiana, nor have J ever lived in Indiana.

I do not own any real property in the state of Indiana.

I have never traveled to, visited, or been in the state of Indiana.

I do not own any personal property in Indiana.

I do not conduct, and have never conducted, any personal business in Indiana.

I have no personal relationship with the state of Indiana.
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In accordance with 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct.

Dated: July 3, 2024

Jeffrey C. Mase
Chief Operating Officer
Triangle Experience Group, Inc.

